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                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                                  TAMPA DIVISION


ADAM WAYNE TYLER ROBERTS,

Plaintiff,

v.                                                   Case No. 8:18-CV-1062-T-33TGW

RICK SWEARINGEN,

      Defendant.
__________________________________/

 DEFENDANT’S MOTION TO EXTEND TIME TO DISCLOSE AN EXPERT REPORT



       Defendant Rick Swearingen, Commissioner, Florida Department of Law Enforcement,

through undersigned counsel, and pursuant to Fed.R.Civ.P. 6(b), moves to extend time to

disclose an expert report. Defendant relies on the Memorandum of Law below.

                                  MEMORANDUM OF LAW

A. BACKGROUND

       On Tuesday of last week, August 21, 2018, this court entered an Order that granted in

part, but denied in part, a motion to dismiss that was made on behalf of the two original

defendants in this case, Rick Swearingen and Attorney General Pam Bondi. The motion to

dismiss was envisioned by Defendant Swearingen to be dispositive. Defendant also believed that

the court would be able to adjudicate the instant case as a matter of law. But, with respect to the

alleged violation of the Second Amendment of the U.S. Constitution, the court concluded “[t]he

Court appreciates Defendants’ efforts to explain a complicated subject. But the factual matters

Defendants raise cannot be properly considered without converting the Motion to Dismiss into a



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motion for summary judgment…” [DE 37, page 14].

       While the motion was pending, Defendant did not attempt to secure the services of an

expert witness.   Defendant want to save the State the costs and expenses of potentially

unnecessary services. During the last three (3) business days, Defendant has begun searching for

an individual who could provide the court with the necessary explanation regarding bump-fire

stocks and trigger modifications.

       The current deadline for Defendant’s disclosure of an expert report is September 17,

2018. However, the discovery deadline does not expire until October 17, 2018, and the summary

judgment deadline is not until November 16, 2018.

B. ARGUMENT

       Pursuant to Fed.R.Civ.P. 6(b), the court may extend time before the expiration of the

original time if good cause is shown.

       Defendant has diligently responded to Plaintiff’s Complaint. After learning last week of

the court’s need for additional information, Defendant immediately began searching for an expert

who could explain what the court believes to be a complicated subject. Any expert will likely

want to examine and, potentially use, Plaintiff’s weapons and devices.          It would not be

unexpected for an expert to have scheduling conflicts over the next 2-3 weeks. Thus, at this

point, it will be extremely difficult for an expert to perform such an examination, and prepare an

expert report, by September 17, 2018. Defendant is respectfully requesting an extension to

September 28, 2018 to disclose the expert’s report. That is less than a two-week extension, and,

importantly, it is well within the deadlines for both the conclusion of discovery, and for

submission of summary judgment motions.

       WHEREFORE, for the foregoing reasons, Defendant requests that this court extend the



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deadline for the disclosure of Defendant’s expert report to September 17, 2018.



                              CERTIFICATE OF CONFERENCE

       In accordance with Local Rule 3.01, the undersigned conferred with the pro se plaintiff,

who advises that he opposes this request.

                                                    s/ Albert J. Bowden
                                                    Albert J. Bowden



                                                    Respectfully Submitted,

                                                    PAMELA JO BONDI
                                                    ATTORNEY GENERAL

                                                    /s/ Albert J. Bowden
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                                CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a true and correct copy of the foregoing has been furnished via

email to all counsel, and to the Plaintiff, Adam Wayne Tyler Roberts, via the CM/ECF’s Notice

of Electronic Filing System since the Plaintiff has been authorized to use that system, this 27th

day of August, 2018.


                                                    /s/ Albert J. Bowden
                                                    Albert J. Bowden




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